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IN THE UNITED sTATEs DIsTRICT COURT Y~~. nc.
FOR THE wEsTERN DISTRICT oF TENNESSEE OSAUG `
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PAUL FARNSWORTH a/k/a
RoNNIE BRADFIELD,

Plail'ltiff,
vS. NO. 03-2950-B/V
EDWARD BAXTER,

Defendant.

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ORDER DENYING MOTION TO AMEND

 

On February l, 2005, plaintiff Paul Farnsworth, a/k/a
Ronnie Bradfield, Tennessee Department of Correction (“TDOC”)
prisoner number 219625, who is currently' incarcerated at the
Northwest Correctional Complex in Tiptonville, Tennessee, filed a
motion seeking leave to amend or supplement his claim to assert
claims against David Mills, the warden at the West Tennessee State
Prison (“WTSP”}; TDOC Commissioner Quenton White; and WTSP Deputy
Warden Henty Stewart. On February 24, 2005, the plaintiff submitted
certain documents he contends were inadvertently omitted from his
February l, 2005 motion. Defendant filed a response in opposition
to the motion on February 22, 2005.

The proposed amendment asserts that Mills, White, and
Stewart failed to supervise defendant Edward Baxter to ensure that

he provide the plaintiff with Messianic Jewish religious services

This document entered on the docket sheet in compiiance
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with Ru|e 53 and/or 79(3} FRCP on 813 §)§

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after a grievance committee at the WTSP directed him to do so. The
plaintiff seeks compensatory and punitive damages against these new
defendants.

Plaintiff first asserted these claims against Mills,
White, and Stewart (who was originally sued as “Steward”) in his
original complaint and his amendment filed on April 6, 2004. In an
order issued on August 2, 2004, the Court dismissed the claims
against these defendants pursuant to 42 U.S.C. § 1997e(a), for
failure to exhaust, and pursuant to 28 U.S.C. § 1915A(b)(1), for
failure to state a clahn on which relief may be granted. The
plaintiff's proposed amendment provides no basis for altering any
aspect of this ruling.

Accordingly, the Court DENIES plaintiff's n©tion for
leave to amend.
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IT IS SO ORDERED this day of August, 2005.

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. nz,NIEL BREEN \`
IT'D sTATEs DISTRICT JUDGE

 

 

 

thice of Distribution

This notice confirms a copy cf the document docketed as number 91 in
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219625

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Honcrable J. Breen
US DISTRICT COURT

